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   8                           UNITED STATES DISTRICT COURT
   9                          CENTRAL DISTRICT OF CALIFORNIA
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  11        LINDA G. P.,1                                Case No. 5:20-cv-02475-VAP-MAR
  12                           Plaintiff,                JUDGMENT
  13              v.
  14        KILOLO KIJAKAZI,
            Acting Commissioner of Social Security,
  15
                               Defendant.
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                 It is the judgment of this Court that the final decision of the Commissioner of
  18
        the Social Security Administration is REVERSED, and the action is REMANDED
  19
        for further proceedings consistent with the Report and Recommendation.
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  21    DATED: May 31, 2022
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                                                HONORABLE VIRGINIA A. PHILLIPS
  24                                            United States District Judge
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         Partially redacted in compliance with Federal Rule of Civil Procedure 5.2(c)(2)(B) and the
        recommendation of the Committee on Court Administration and Case Management of the Judicial
  28    Conference of the United States.
